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4                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
5
6      UNITED STATES OF AMERICA,                 )
                                                 )      CR-09-015-EFS-23
7                        Plaintiff,              )
                                                 )     ORDER GRANTING MOTION TO
8      v.                                        )     ALLOW EMPLOYMENT
                                                 )
9      NICHOLAS SCOTT CASSELL                    )
                                                 )
10                       Defendant.              )
                                                 )
11
              Before   the     Court    is    defendant’s       Motion    to   modify
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      conditions of release to allow employment (Ct Rec 524).
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              The Court having considered the Motion and the letter from
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      Mr. Cassell’s treatment provider, and after a review of the
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      files   and   records     herein,      hereby   Orders     that    the   Release
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      Conditions entered in this case are amended to allow Mr. Cassell
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      to obtain employment and to be allowed to come and go to his
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      employer’s worksite(s).          Defendant’s Motion (Ct. Rec. 524) is
19
      GRANTED.
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              DATED April 13, 2009.
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22
                              s/ CYNTHIA IMBROGNO
23                       UNITED STATES MAGISTRATE JUDGE

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     ORDER ***
